         Case 1:17-cr-00201-ABJ Document 366 Filed 08/06/18 Page 1 of 5



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                          Crim. No. 17-cr-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                 Defendant.


      GOVERNMENT’S MOTION FOR LEAVE TO SUPPLEMENT ITS PENDING
             MOTION TO EXCLUDE EVIDENCE OR ARGUMENT

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully moves for leave to supplement its motion in limine (Doc. 341), in light of statements

made by the defense in the ongoing criminal trial of Manafort in the Eastern District of Virginia.

       Specifically, the government seeks to move in limine for an order precluding defendant

Paul J. Manafort, Jr. (Manafort) from presenting argument at trial, or soliciting evidence

concerning, (1) the absence of a civil Internal Revenue Service (IRS) audit of Manafort or his

companies or (2) the absence of any civil Foreign Agents Registration Act (FARA) action against

Manafort or his companies, or suggesting that such civil audits or actions were necessary or that

the absence of such civil audits or actions was improper, indicative of a lack of evidence of a crime,

or indicative of selective prosecution or some other improper motive such that jury nullification

would be appropriate. The availability of a civil remedy is irrelevant to the issue of criminal

liability, will serve only to confuse and mislead the jury, and will invite jury nullification.

Accordingly, pursuant to Federal Rules of Evidence 401 and 403, the Court should preclude

Manafort from raising these issues before the jury.




                                                  1
           Case 1:17-cr-00201-ABJ Document 366 Filed 08/06/18 Page 2 of 5



       A.      Background

       On June 8, 2018, a grand jury in this district returned a superseding indictment charging

Manafort with FARA and tax crimes. See Doc. 318. Specifically, the superseding indictment

charges Manafort with conspiring to violate FARA, to make false and misleading FARA

statements, and to file false tax returns, in violation of 18 U.S.C. § 371 (Count One); acting as an

agent of a foreign principal without registering, in violation of 22 U.S.C. §§ 612 and 618(a)(1)

(Count Three); and making false and misleading statements to the Department of Justice, in

violation of 22 U.S.C. §§ 612 and 618(a)(2) and 18 U.S.C. § 1001 (Counts Four and Five).

       On July 9, 2018, the government filed its motion in limine to exclude or argument (1)

concerning selective or vindictive prosecution or the motive and mandate of the Department of

Justice office leading the prosecution, or (2) suggesting that any government investigation into

Manafort that preceded the Special Counsel’s appointment ended with a decision not to prosecute

him. (Doc. 341). On July 23, 2018, Manafort filed his response opposing in part the government’s

motion in limine. (Doc. 361). The government’s motion is still pending with the Court.

       Manafort is also currently in trial facing separate tax and bank-fraud criminal charges in

the Eastern District of Virginia. United States v. Manafort, No. 1:18-cr-83 (E.D. Va.) (“E.D. Va.

Trial”). On July 31, 2018, during its opening statement in the Virginia trial, the defense stated as

follows:

               But in the Government’s rush to judgment in this case you’re going
               to learn that Mr. Manafort was never audited by the IRS, nor were
               any of his companies. So as you consider this, as you hear all the
               evidence come in, the documents and the testimony, you might ask
               yourself whether the Government knew enough to initiate the audit.
               Did they have enough evidence? I mean, the government knows a
               lot about us, but did they have enough evidence to even think about
               initiating an audit of Paul Manafort?




                                                 2
          Case 1:17-cr-00201-ABJ Document 366 Filed 08/06/18 Page 3 of 5



E.D. Va. Trial, 7/31/18 Tr. at 44–45. This statement suggests that the defendant may likewise in

this case seek to refer to civil tax audits and other civil measures that are not at issue in this criminal

proceeding and are irrelevant to the determination of criminal liability. 1

        B.      Argument

        As outlined in the government’s pending motion in limine, this Court should bar Manafort

from suggesting wrongly—as he has in pretrial filings—that prosecutors in this case have

resurrected charges previously investigated but declined for prosecution. (Doc. 341 at 6–7). Such

arguments amount to claims of selective prosecution that must be presented to the court before

trial and not before a jury. United States v. Safavian, No. 05-cr-370, 2008 WL 5255534, at *1

(D.D.C. Dec. 12, 2008) (“Where issues of vindictive or selective prosecution are properly raised

they are legal matters for the Court, not theories of defense for the jury.”).

        Similarly, evidence regarding the role and availability of IRS civil audits is irrelevant in a

criminal tax case, and argument that a civil audit should have been conducted but was not creates

a substantial risk of misleading the jury, prejudicing the government, and inviting jury

nullification. See United States v. DeMuro, 677 F.3d 550, 565 (3d Cir. 2012) (district court

properly excluded evidence of civil tax remedy because “it opened the door to jury nullification,

by inviting the jury to reason that the IRS should have continued to pursue the matter civilly rather

than criminally”); United States v. Burkhart, 501 F.2d 993, 996 (6th Cir. 1974) (“The matter of

civil liability is not an issue when a jury is determining a defendant’s criminal liability for tax



1
   Subsequently, the defendant claimed that these statements were “made in the context of
explaining the element of willfulness that the jury will be required to find to convict Mr. Manafort
of the tax and FBAR-related offenses in this case.” United States v. Manafort, No. 1:18-cr-83
(E.D. Va. Aug. 2, 2018) (Doc. 197 at 1–2). The language quoted above belies this claim: the
defense’s statement had nothing to do with the defendant’s state of mind but plainly suggested that
the government rushed to proceed criminally instead of civilly and lacked evidence of criminal
liability.
                                                    3
          Case 1:17-cr-00201-ABJ Document 366 Filed 08/06/18 Page 4 of 5



evasion.”); United States v. Merrick, 464 F.2d 1087, 1093 (10th Cir. 1972) (finding “no relevance”

in a jury instruction that a civil case might be brought against a defendant who was convicted of

evasion under 26 U.S.C. § 7201); see also United States v. Lynch, No. CR 14-181, 2016 WL

4179429, at *3 (W.D. Pa. Aug. 8, 2016) (“Although Defendant must be permitted to present

evidence and argument regarding the civil and administrative remedies that were actually pursued

in this case, he will be precluded from making any argument that the Government should have or

was required to continue to pursue civil and/or administrative remedies.”). Even assuming

information about such civil remedies described above has some probative value, that value would

be substantially outweighed by the risk of misleading or confusing the jury, prejudicing the

government, and encouraging jury nullification. See Fed. R. Evid. 403.

       Likewise, although FARA has civil provisions, any reference to these remedies is irrelevant

and risks confusing the jury. Like references to civil tax remedies, references to FARA’s civil

provisions would open the door to jury nullification by inviting the jury to reason that the

Department of Justice should have continued to pursue the FARA conduct at issue civilly rather

than criminally or that it lacked evidence of a civil violation and therefore must lack evidence of a

criminal violation. The defendant has “no right to invite the jury to act lawlessly” by introducing

alternative civil remedies that could have been pursued. United States v. Perez, 86 F.3d 735, 736

(7th Cir. 1996); see also Jones v. United States, 526 U.S. 227, 246 (1999) (noting interest in

“limit[ing] the opportunities for juror nullification”).      The Court should therefore prohibit

references to FARA’s civil provisions or any argument implying that Manafort is being singled

out for prosecution under FARA’s criminal provisions. Cf. United States v. Sinagra, 584 F. App’x

628, 630 (9th Cir. 2014) (affirming the district court’s refusal to instruct the jury that the Computer

Fraud and Abuse Act is a civil as well as a criminal statute, since the “‘availability of a civil remedy



                                                   4
         Case 1:17-cr-00201-ABJ Document 366 Filed 08/06/18 Page 5 of 5



is irrelevant to the issue of criminal liability”’ (citing United States v. Buras, 633 F.2d 1356, 1360

(9th Cir. 1980)).

                                          CONCLUSION

       For these reasons, the government requests that the Court permit the government to amend

its pending motion in limine and enter an order precluding Manafort from arguing or presenting

evidence at trial concerning civil tax audits or the absence of any such audit of him or his

companies. Likewise, the government requests that the Court enter an order precluding Manafort

from referencing FARA’s civil provisions during trial.



                                                      Respectfully submitted,

                                                      ROBERT S. MUELLER, III
                                                      Special Counsel

Dated: August 6, 2018                          By:    /s/ Andrew Weissmann
                                                      Andrew Weissmann
                                                      Senior Assistant Special Counsel
                                                      Special Counsel’s Office
                                                      U.S. Department of Justice
                                                      950 Pennsylvania Avenue NW
                                                      Washington, D.C. 20530
                                                      Telephone: (202) 616-0800

                                                      Attorney for the United States of America




                                                  5
